              Case: 1:24-cv-00446-JEG Doc #: 23 Filed: 06/05/24 1 of 2. PageID #: 474
Approved.

/s/ James E. Grimes Jr.
James E. Grimes Jr.                  UNITED STATES DISTRICT COURT
U.S. Magistrate Judge                 NORTHERN DISTRICT OF OHIO
   Date: 6/5/2024                          EASTERN DIVISION

          NATIONS LENDING CORPORATION,                 )   CASE NO. 1:24-cv-00446-JEG
                                                       )
                 Plaintiff,                            )   MAGISTRATE JUDGE
                                                       )   JAMES E. GRIMES JR.
                 v.                                    )
                                                       )   NOTICE OF DISMISSAL
          ACADEMY MORTGAGE                             )   WITH PREJUDICE
          CORPORATION, et al.,                         )
                                                       )
                  Defendants.                          )


                Now comes Plaintiff Nations Lending Corporation, by and through counsel and in

        accordance with Fed. R. Civ. P. 41(a)(1)(A)(i) and the agreement of the parties hereby gives notice

        that this action is voluntarily dismissed. Accordingly, Plaintiff notices voluntary dismissal of this

        action, with prejudice.

                                                      Respectfully submitted,

                                                      /s/ Jeffrey C. Miller
                                                      Jeffrey C. Miller (0068882)
                                                      David J. Hearty (0093827)
                                                      Stefanik Iosue & Associates
                                                      1109 Carnegie Avenue, Floor 2
                                                      Cleveland, OH 44115
                                                      (216) 651-0451
                                                      jmiller@StefanikIosue.com
                                                      dhearty@StefanikIosue.com
                                                      Attorneys for Plaintiff Nations Lending Corporation
      Case: 1:24-cv-00446-JEG Doc #: 23 Filed: 06/05/24 2 of 2. PageID #: 475




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on June 5, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.


                                               /s/ Jeffrey C. Miller
                                               Jeffrey C. Miller (0068882)
                                               One of the attorneys for Nations Lending
                                               Corporation




                                                  2
